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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



YAN QUN XUE, et al.,
on his own behalf and on behalf of others                    Civil Action No. 23-2371 (EP)(JSA)
similarly situated

                    Plaintiffs,

                    v.
                                                                      AMENDED
FADA GROUP INC., et al.,                                          SCHEDULING ORDER
doing business as SOGO

                    Defendants.

       THIS MATTER having come before the Court for a Telephone Status Conference on

January 11, 2024, and the Court having addressed the parties’ joint letter of January 4, 2024,

(ECF No. 20); and for the reasons set forth during the January 11th Conference; and for good

cause shown,

       IT IS on this 11th day of January 2024,

       ORDERED THAT:

       1.      The deadline for fact discovery is extended through and including May 14, 2024.

No discovery is to be issued or engaged in beyond that date, except upon application and for

good cause shown.

       2.      The deadline for serving affirmative expert reports is extended through and

including June 14, 2024.

       3.      The deadline serving responsive expert reports is extended through and including

July 15, 2024.

       4.      The deadline for completing all expert discovery, including expert depositions, is

extended through and including August 15, 2024.
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       5.     Any unresolved discovery disputes (other than those that arise during depositions)

must be brought before the Court not later than thirty (30) days before the fact discovery

deadline. The Court will not entertain applications concerning discovery matters,

informally or otherwise, after this date. If an unresolved dispute arises at a deposition, then

the parties must contact the Chambers of the Undersigned for assistance during the deposition.

Failure to contact Chambers for intervention before adjourning that deposition may constitute

waiver of the right to seek relief from the Court.

       6.     The parties shall submit a joint letter on or before March 15, 2024, addressing the

status of completing fact discovery and any settlement discussions.

       7.     The Court will conduct a Telephone Status Conference on March 21, 2024 at

9:30 a.m. and will provide the parties with the connection information in advance.

       8.     All other provisions of Scheduling Orders previously issued in this matter shall

remain in full force and effect.


                                                     /s/ Jessica S. Allen
                                                     Hon. Jessica S. Allen, U.S.M.J.



cc:    Hon. Evelyn Padin, U.S.D.J.
